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                                    10                       UNITED STATES DISTRICT COURT

                                    11                      CENTRAL DISTRICT OF CALIFORNIA
                                    12
                                       Kandypens, Inc., a Delaware             Case No. CV 20-358-GW-KSx
                                    13 corporation,
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 SANTA MONICA, CA 90401-2386




                                                                               FINAL CONSENT JUDGMENT AND
    120 BROADWAY, SUITE 300




                                    14                     Plaintiff,          ENTRY OF PERMANENT
                                                                               INJUNCTION
                                    15               vs.
                                    16 Puff Corp., a Delaware corporation,
                                    17                    Defendant.
                                    18
                                         Puff Corp., a Delaware corporation,   District Judge: Hon. George H. Wu
                                    19
                                                           Counterclaimant,
                                    20
                                                     vs.
                                    21                                         Action Filed: January 13, 2020
                                       Kandypens, Inc., a Delaware             Trial Date: December 14, 2021
                                    22 corporation,
                                    23
                                                          Counterclaim-
                                    24                    Defendant.
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                                               [PROPOSED] FINAL CONSENT JUDGMENT AND ENTRY OF PERMANENT INJUNCTION
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                                     1        Before the Court is Plaintiff KandyPens, Inc. (“KandyPens”) and Defendant
                                     2 Puff Corp.’s (“Puffco”) Joint Motion for Final Consent Judgment and Entry of
                                     3 Permanent Injunction.
                                     4        On January 13, 2020, KandyPens filed its Complaint seeking a declaratory
                                     5 judgment that U.S. Patent No. 10,517,334 (“the ‘334 Patent”) is invalid. (Dkt. 1)
                                     6        On June 11, 2020, Puffco filed its Amended Answer, Defenses, and
                                     7 Counterclaims in which Puffco alleged that KandyPens’ Oura vaporizing device
                                     8 infringes the ‘334 Patent owned by Puffco. (Dkt. 40)
                                     9        On November 12, 2020, the Court issued its Claim Construction Order. (Dkt.
                                    10 76).
                                    11        On October 13, 2021, the Court granted Puffco’s Motion for Partial Summary
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                                    12 Judgment, finding that the KandyPens Oura vaporizing device infringes claims 1-11
                                    13 and 13 of the ‘334 Patent. (Dkt. 151, 152)
                                    14        Pursuant to the terms of the parties’ Settlement Agreement entered into on
                                    15 November 22, 2021, KandyPens agreed that the claims of the ‘334 Patent are valid,
                                    16 enforceable, and infringed by the KandyPens’ Oura vaporizing device. Pursuant to
                                    17 the Settlement Agreement, the parties agree to, and seek to have, the following
                                    18 consent judgment and permanent injunction entered.
                                    19
                                    20        IT IS HEREBY ORDERED AND DECREED that:
                                    21
                                    22        1.     This Court has jurisdiction of the subject matter and the parties and
                                    23 their respective agents under Title 35 of the United States Code, and 28 U.S.C. §§
                                    24 1331 and 1338(a).
                                    25        2.     Puffco owns the ‘334 Patent.
                                    26        3.     The claims of the ‘334 Patent are valid and enforceable.
                                    27        4.     The KandyPens Oura vaporizing device infringes claims 1-11 and 13 of
                                    28 the ‘334 Patent.
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                                               [PROPOSED] FINAL CONSENT JUDGMENT AND ENTRY OF PERMANENT INJUNCTION
                                  Case 2:20-cv-00358-GW-KS Document 167 Filed 11/23/21 Page 3 of 4 Page ID #:8366



                                     1         5.    Beginning on May 23, 2022, KandyPens and KandyPens’ owners,
                                     2 employees, officers, directors, sales representatives, agents, successors and assigns,
                                     3 and all other persons in active concert or participation with them, are permanently
                                     4 enjoined from: (i) making, offering to sell, or selling in the U.S., or importing into
                                     5 the U.S., the Oura vaporizing device and any product that is no more than colorably
                                     6 different from the Oura vaporizing device; (ii) inducing others to do so; and (iii)
                                     7 directly or indirectly challenging, or otherwise assisting any third party in
                                     8 challenging, the validity or enforceability of the ‘334 Patent, including in any
                                     9 proceeding to enforce the parties’ Settlement Agreement or this Final Consent
                                    10 Judgment and Entry of Permanent Injunction.
                                    11         6.    Puffco shall have judgment entered in its favor against KandyPens on
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                                    12 all claims, counterclaims, and defenses in this action.
                                    13         7.    This matter shall be administratively closed after entry of this Order,
                                    14 but the Court shall retain jurisdiction and venue over the parties solely with respect
                                    15 to enforcement of this Order, the Stipulated Protective Order (Dkt. #33), and the
                                    16 Settlement Agreement between the parties and any disputes or controversies that
                                    17 may arise with regard thereto, which shall be exclusively brought before this Court
                                    18 for resolution thereof. Without limiting the generality of the foregoing, either party
                                    19 shall bring any action to enforce or construe any provision of this Order or the
                                    20 Settlement Agreement solely by reopening this matter in this Court.
                                    21         8.    The terms of this Order and the terms of the Settlement Agreement are
                                    22 binding on the parties in any future action and the parties are foreclosed, in any such
                                    23 future action, from litigating or disputing any of such terms.
                                    24         9.    This Order shall inure to the benefit of and shall be enforceable by
                                    25 Puffco and its successors and assigns against KandyPens and its successors and
                                    26 assigns.
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                                               [PROPOSED] FINAL CONSENT JUDGMENT AND ENTRY OF PERMANENT INJUNCTION
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                                     1        10.   NOW THEREFORE, this Court enters FINAL JUDGMENT for
                                     2 Defendant Puffco and against Plaintiff KandyPens, with each party to bear its own
                                     3 fees and costs.
                                     4        IT IS SO ORDERED.
                                     5
                                     6        Date: November 23, 2021      By:
                                     7                                        HON. GEORGE H. WU
                                     8                                        United States District Judge

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                                               [PROPOSED] FINAL CONSENT JUDGMENT AND ENTRY OF PERMANENT INJUNCTION
